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AFFIDAVIT OF ALAN VERA

Alan Vera, appeared in person before me today and stated under oath:

“My name is Alan Vera. ] am above the age of eighteen years and am fully competent to
make this affidavit. The facts stated in this affidavit are within my personal knowledge and are
true and correct.

“tam Chairman of the Harris County Republican Party Ballot Security Committee.

“Respondent, Chris Hollins who is a Democrat and currently serves as Deputy Vice Chair
of Finance for the Democratic Party of Texas has identified ten (10) drive-through voting locations.
Nine (9) of the ten (10) locations are in heavily Democratic areas.

“On Saturday October 31, 2020, all the Judge’s Booth Controllers (“JBC”) from early
voting will be delivered to central count at NRG. Seals will be broken and the memory cards -
Mobile Ballot Box (“MBB”) will be accessed to report the number of ballots contained in each
MBB-not to tally the vote.

“On the morning of November 3, 2020, the same MBB’s will be connected to the Tally
machine to download the actual ballots contained, and count votes for each candidate and issue on
the ballots. During this process, the Tally machine will also the conduct the counting / tabulation
process from the MBB’s from the early voting drive-through vote centers..

“After 7:00p.m. on November 3, 2020, Respondent will enter the MBB’s from election day
votes at drive-through locations into the Tally machine to conduct the counting / tabulation of
election day votes at drive-through locations.

“Specifically, in drive-through voting, the voter never exits the vehicle. Instead, the voter
sits in his/her car as the e-slate is hand delivered to the voter who then cast his/her vote within the

confines of the vehicle.
 

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“It should be noted that many votes are cast by numerous people in the car, eliminating
confidentiality surrounding one’s vote. The garages, tents, canopies, and other “coverings”
through which the car drives are not actual polling locations — the polling place is in the car.

“The e-slate is physically placed in the car, the vote is cast in the car, and the voter remains
in the car. The voter never physically exits the car.

“To my knowledge, Harris County is the only county in Texas implementing drive-thru

voting. | am familiar with the voting process in many countics across the state of Texas.

FURTHER AFFIANT SAYETH NOT.

 

 

Alan Vera
SIGNED under oath before me hilo, 27. 2020.

Karen J Avety
My Commission Expires

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